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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SO ee rr ee eee ee ne ee eee see eee eee eee x
UMG RECORDINGS, INC. ET AL,
Plaintiffs, : CLARIFICATION OF ORDER
: GRANTING MOTION TO
-against- : COMPEL
UNCHARTED LABS, INC. ET AL, : 24 Civ. 4777 (AKH)
Defendants.
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ALVIN K. HELLERSTEI U.S.D.J::

I previously granted Defendants’ motion to compel the production of the deposit
copies of the Asserted Works, ECF No. 89. Plaintiffs now seek clarification of what they are
required to produce under that Order.

The best evidence rule that limits admissibility to only the original copy is not
feasible here because the original copy is that filed with the United States Copyright Office.
Where an original cannot be found, the Federal Rules of Evidence allow for the admission of a
duplicate. Fed, R. Evid. 1003; see also Chicoineau v. Bonnier Corp., No. 18-cv-3264 (JSR),
2018 WL 6039387, at *2 (S.D.N.Y. Oct. 16, 2018).

Plaintiffs’ obligation is to produce the truest copy in their possession, whether
analog or digital, along with a representation establishing that those copies are identical to the
deposit copies submitted for registration with the United States Copyright Office and identifying
when the copy produced was made and from what source. The Clerk is directed to terminate the

open motion, ECF No. 91.

SO ORDERED. Lea Z
Dated: May , 2025 We =
fo

New York, New York ALVIN K. HELLERSTEIN
United States District Judge

